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                                                                            FILED By FC.- D.c.
                      U NITED STATES D ISTRICT COURT
                                            forthe                                  AFF 3g 2215
                          SOU THERN DISTRICT OF FLORIDA                             ktkkrttl.,lîlt',
                                                                                      o og,t  ,.M,,.i
                                  19-CV-
      ADEM ALBRA,

                                 PLAINTIFF,               JURYTRIAL DEMANDED

      BROW ARD COUNTY SHERIFFS DEPT

                                 DEFENDANTS

                        PT,AM IFF S COU T,ATNT AGM NST 'M
                         BK W ARD COUNW SM RIFFS DEH

            Plaintift Adem Albra,m ovesthis Courtfora trialbyjury and hereby files
      this cause ofaction against the Brow ard County Sheriffs Dept for deprivation of

      Albra's 4th,5th3 and 14th Am endm ent Rights of the U .S. Constitutional, as

      codified at42 U SC 1983.

            As the nam es ofa11the law enforcem entofficers involved are not available

      to Plaintiff,he notifies this Court of his right to am end this Com plaint to add

      each officer to this Com plaint and sue them in their individualcapacities.

            'l'he question before this Court is whether the police can detain som eone,

      handcuffed,and in their police vehicle,for over three and a half hours,based on

      one readily available controlling question. As a result Plaintiff asserts that

      D efendants have violated his Constitutional Rights and is entitled to all

      dam ages,assetforth by ajury ofhispeers.
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                                      IURISDICTION

            Jurisdiction for this suit is conferred in part by 42 U .S.C . 1983, w hich

            provides,in paz't:

                  Every person w ho,under color ofany statute,ordinance,regulation,

                  custom or usage, of any State or Territory, or the D istrict of

                  Columbia,subjects,or causes to be subjected,any citizen ofthe
                  United Statesor other person within thejurisdiction thereofto the
                  deprivation of any rights,pt-ivileges,or im m unities secttred by the

                  Constitution and laws,shallbe liable to the party injured in an
                  action oflaw ,suitin equity,or other proceedings for redress.




         2.Under28 U.S.C.1331 and 1343(a)(3)and (*,theCourtcan entertain an
            action to redress deprivation of rights n aranteed by the U nited States

            Constitution,and the Couz'thas jurisdiction to hear an action to redress
            deprivation ofrights guaranteed by the law s and the Constitution.



         3. As the D efendant in this case is against Brow ard County Sheriff,venue is

            proper in the Southern D istrict CourtofFlorida..



                                 FACTUAL BACKGROUND

         1. On M arch 11, 2019, Plaintiffs room m ate, Leslie Szendy, called the

            Brow ard County Sheriffs D epartm ent claim ing that Albra w as abusing

            one ofhis dogs,by not euthanizing the dog. Albra w as unaw are he m ade
            such a callastlais dog w as not Albra's property.
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         2. The dog in question is the property of Leslie 3zendy,as he acquired the

            dog from a friend of his w ho died. The fam ily of his deceased friend

            em ailed him asking ifhe w anted the dog. Leslie replied yes via em ail,and

            took possession ofthisdog.(Plaintiffhasthe em ailprovingthesefacts).


         3. At 8:36nm of day in question,deputy Jennings responded to tlais calland
            knocked on the door. U pon Plaintiff opening his front door for deputy

            Jennings, he w as im m ediately handcuffed and detained by Brow ard

            C ounty Sheriffs D epartm ent and putinto a police vehicle.



         4. A lbra notified the deputies that the dog w as Leslie Szendy's property;

            how ever,one ofthe deputies stated that since Itook care ofthe dog,I have

            ovqAership interest.



         5. The law s about dogs being considered Gpropez-tym is standard throughout

            the U nited States, and it is clear to any reasonable person that

            ascertaining this inform ation should have taken only a few m inutes in
            perform ing this investigation.



        6. D espite nllm erous requests to either arrest him or 1et m e free, every

            officer refused to act,falsely im prisoning Albra,even when Albra inform ed

            the police officers that their detainm ent w as depriving him of his

            scheduled m edications.
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         7. It w as nearly 3 and a half hottrs w here Albra w as handcuffed,and in the
            back of a police vehicle, in front of his hom e w ith neighbors w atching,

            w here the Brow ard Sheriffs D ept deprived him of his liberty,and forever

            tarnished Albra's reputation.



         8. Albra filed a com plaint w ith Brow ard Sheriffs InternalAffairs. On April

            5, 2019, despite police cnm era footage validating Albra's statem ents,the

            blue code of silelace concluded no m isconduct had occurred. Albra's

            attem pts to resolve this znatter w ith Adm inistration have been ignored by

            the Sheriffs- hence,the com m encem ent ofthis suit.



         9. Albra also requested the Sheriffs D ept preserve allpolice cam era footage

            as he intended to subpoena them in a courtoflaw .




                    U.S.CON STITW ION - rlN R TA W OF THR 1.,AN D
            r
            n ae Fourth Am endm entto the U nited States Constitution The right ofthe

      people to be secure in their persons, houses, papers, and effects, against

      unreasonable searches and seizures,shallnotbe violated,and no W arrants shall

      issue, but upon probable cause, supported by Oath or affirm ation, and

      paA icularly describing the place to be searched,and the persons or things to be

      seized.

            rrhe Fifth Am endm ent to the U nited States C onstitution provides: N o

      person shall ...be deprived oflife,liberty,or property,w ithout due process oflaw
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      ... ...   (Nlorshallany State deprive any person oflife,liberty,or property,without
      due process oflaw .

           The Fourteenth Am endm ent says thatno state shallm ake or enforce any law

      w hich shallabridge the privileges or im m unities ofcitizens ofthe U nited States;
      nor shall any state deprive any person of life,liberty,or property,w ithout due

      processoflaw ;nor deny to any person within itsjurisdiction the equalprotection
      ofthe law s



                 This is a sim ple case pertaining to the m ost cherished elem ent ofthe U .S.

      Constitution - that of libez-ty. The Brow ard County Sheriffs departm ent stole

      Albra's liberty for over 3 and a halfhours,handcuffed,and in the back oftheir

      police vehicle for a1lhis neighbors to witness,based on one sim ple question of

      1aw - w ho owns the dog.

                 lt is understandable, but not agreed w ith,that the police can detain an

      individualw ho is under suspicion,or if basic investigatory m ethods need to be

      perform ed to ascertain ifan arrest needs to be m ade.

                 H ow ever,no reasonable person w ould conclude this required tllree and a

      halfhoursofdetainment.Anyjudm entofthe contrary wouldattempttosingle
      handedly rew rite the Constitution - t,
                                            o the governm ent'sfavor.



                                       M RM OO         UM OF LAW

                 ln the eyes of the law , dogs are legally considered property,no different

      than a couch or a car. One ofthe deputies w ho said that taking ofcar ofthe dog

      establishes ow nership rights is clearly w rong. Otherwise, every car w asher in

      Am erica w ould be delighted ifany courtdare create such a precedent.
                                                   5
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            Further, all h'lm an rights instrum ents throughout the w orld, including

      the Am erican Declaration of H um an Rights & the Duties ofM an,m ake it clear

      that inherent hum an rights bestow ed upon us by our Creator, such as liberty,

      freedom , and reputation,cannot be arbitrarily taken from an individual by the

      State,w ithout cause.

            XJHERRFORR,Plaintiffprays the CourtwillGRANT allrelief,including
      nom inal,com pensatory and punitive dam ages determ ined by a jury,any other
      additionalreliefthe Courtm ay deem proper.


                                                 JURY TRIAL DEMANDED


                                            25                   April             19
                              Signed this             day of                 ,20


                                                                 Signature ofPlaintiff


                  Ideclareunderpenaltyofperjurythattheforegoingis'true andcorrect.
                                  Executed on:          April 25, 2019


                                                                 Signature ofPlaintiff




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         lHEREBY CERTIFY thaton this 24thday ofApril2019,a true and corred

   copy ofthe foregoing wassentvia First-classU S postalm ailto the following:



   B RO W AR D C OU N W SH ER IFF'S
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   FortLauderdale, FL 33312


                                        R espectfully subm itted,
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                                        954-638-8190
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                                        By:
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